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               UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF MARYLAND

RICKEY NELSON JONES      *
                         *
      Plaintiff,         *
                         *
v.                       * Civil Action No.: 15-CV-3336 CCB
                         *
ADMINISTRATIVE OFFICE OF *
   THE COURTS, MARYLAND  *
   JUDICIARY             *
                         *
      Defendant.         *
**********************************************

       PLAINTIFF’S REPLY TO DEFENDANT’S OPPOSITION
      TO PLAINTIFF’S MOTION TO AMEND & FOR SUMMARY
                        JUDGMENT

      Plaintiff, Rickey Nelson Jones, through undersigned counsel, pursuant to

Fed. R. Civ. Proc., Rule 12, replies to Defendant’s opposition.   As grounds

therefor, he corrects Defendant’s recitation of facts and law as follows:

                               Correction of Facts

Defendant Seeks To Revive Its Original Argument After

The Maryland Constitution Has Already Caused Its Demise

And Such Demise Cannot Be Resuscitated With Inapplicable

Cases About Plaintiff Not Being Protected By Title VII

      1.     As stated in Plaintiff’s Cross Motion for Summary Judgment, the

               Maryland Constitution, Article IV, Sections 1, 1A, 14, and 18,

               provide that the judicial power of the state is vested in a Court of
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       Appeals (and lower courts) and is co-extensive with the limits of

       the State such that it shall from time to time adopt rules and

       regulations concerning the practice and procedure in and the

       administration of the appellate courts and in the other courts of

       this State.

2.   In the exercise of such rules and regulations, the job of the

       Administrative Office of the Courts (“AOC”) in providing the

       means for determining qualified judges to serve was established.

3.   Hence, the AOC, Maryland Judiciary, Court of Appeals, State of

       Maryland, all are “one” from the state constitutional perspective.

4.   The Defendant’s insistence on self-identifying with circuit court

       judges appear to try to “steer” the court and the argument to

       “make it fit” Title VII’s exclusion from the definition of an

       employee. However, its efforts fail.

5.   Each case cited by Defendant, in particular the one cited as direct

       support, namely, Cromer v. Brown, 88 F.3d 1315 (C.A. 4, 1994),

       are not applicable here for a simple reason. Title VII’s

       definition of an “employee” excludes persons elected to public

       office or engaging in policy making, not applicants for a

       potential appointment. In essence, Plaintiff challenges the

       process used by the State of Maryland as discriminatory. An
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                          unlawful employment practice has blocked Plaintiff from an

                          employment opportunity in violation of Title VII.

           6.         Defendant seems to overlook the discriminatory process due to its

                          rush to “point to” something else if such process did not exist.1

           7.         Therefore, per the Maryland Constitution, the Plaintiff’s decision

                          to sue the State of Maryland via its AOC and Judiciary as “arms

                          of the state” were proper, and his amendment serves principally

                          to bring clarity, not principally to include a defendant that was

                          not already included of necessity, constitutionally speaking.

           8.         Moreover, this matter of the State of Maryland/Court of Appeals

                          being the Defendant herein is put to rest with the December

                          2014 letter to the Governor from the AOC [i] bearing the Seal of

                          the State of Maryland and [ii] informing the Chief Judge of the

                          Court of Appeals of its work on behalf of that judicial body.

                          See. Exhibits “A & B” of Cross Motion

           9.         Concerning Plaintiff not including the Court of Appeals/State of

                          Maryland as a defendant in his EEOC Complaint, that is

                          incorrect again, constitutionally. Further, in Defendant’s own

                          memorandum in support of its motion to dismiss, Exhibit 4:


1	  Paragraphs	  1-­‐6	  are	  the	  refutation	  of	  Defendant’s	  Title	  VII	  argument.	  	  Hence,	  it	  was	  

never	  conceded	  as	  Defendant	  claims	  on	  page	  4	  of	  its	  Opposition.	  
                                                                                                                                           4
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                          Attachment “A,” the “Charge of Discrimination” is provided. In

                          the section asking for the name of the entity believed to have

                          discriminated against Plaintiff, it states clearly “State or Local

                          Government Agency.” In response, the AOC is identified by

                          Plaintiff as the State Agency.2

           10.        Finally, at the end of Defendant’s Opposition, it tries to undermine

                          the statistics cited by Plaintiff and the facts in his affidavit. Both

                          attempts are without merit.

           11.         Attached as Exhibit “B” is more verification by the Office of

                          Communications and Public Affairs, Administrative Office of

                          the Courts, that only two African-Americans have served on the

                          Circuit Court for Anne Arundel County (the e-mail is a response

                          to a public information inquiry by Ms. Jones on behalf of

                          Plaintiff’s law office).

           12.        Procedurally, Plaintiff’s affidavit stands inviolate according to the

                          Federal Rules of Civil Procedure. Rule 11(b)(3) provides as

                          follows: “(b) Representations to the Court. By presenting to

                          the court a pleading, written motion, or other paper—whether by

                          signing, filing, submitting, or later advocating it—an attorney…


2	  Additionally,	  in	  the	  “Equal	  Employment	  Opportunity	  Commission	  Intake	  

Questionnaire,”	  Plaintiff	  identified	  the	  AOC	  as	  an	  entity	  of	  the	  State.	  	  See.	  Attached	  “A”	  
                                                                                      5
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                certifies that to the best of the person’s knowledge, information,

                and belief, formed after an inquiry reasonable under the

                circumstances, (3) the factual contentions have evidentiary

                support or, if specifically so identified, will likely have

                evidentiary support after a reasonable opportunity for further

                investigation or discovery;”       HENCE, Plaintiff’s affidavit

                represents facts supported by evidence, some having been

                provided already by Plaintiff.

                                       LAW

      Defendant has devoted its Opposition to [i] providing inapplicable cases

or [ii] providing dicta from cases. However, it has ignored the Maryland

Constitution which undermines its argument and Title VII which prohibits

deprivation of employment opportunities on the basis of race. Worst of all,

while trying to force its view contrary to the State Constitution, it has failed to

“articulate some legitimate, nondiscriminatory, reason” for its actions outlined

in Plaintiff’s Complaint, namely, it has failed to counter Plaintiff’s Cross

Motion for Summary Judgment. With its procedural argument lying lifeless “at

the feet” of the Maryland Constitution, it would seem wise to address the

substantial legal precedent against the bias action by the State against one of its

own officers of the court. The Defendant has decided to ignore this substantial
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matter, and hence, Plaintiff’s cross motion for summary judgment should be

granted in full.

          Finally, Plaintiff’s motion to amend should be granted consistent with the

facts and law outlined above.3 Defendant’s statement that there was no

memorandum of law with the motion does not prohibit granting it. Federal

Rules of Civil Procedure, Rule 15, does not make a memorandum a condition to

filing or granting the motion. Additionally, the basis for the motion was cited

therein, namely Rule 15(a)(2), emphasizing the court freely grant leave to

amend when justice so requires. Regarding justice, the magnitude (i.e.,

percentage) and decades of exclusion of those in the protected class from

opportunities to serve their county on the Circuit Court in Anne Arundel County

suggest both removing any obstacles to understanding and remedying this

offense to Title VII.

          WHEREFORE, Plaintiff requests that Defendant’s motion to dismiss or

for summary judgment be Denied and Plaintiff’s cross motion for summary

judgment be Granted, awarding all relief outlined in his Complaint.


                                                                          Respectfully submitted,
                                                                            /s/ Rickey Nelson Jones
                                                                          Rickey Nelson Jones


3	  In	  further	  support,	  Plaintiff	  hereby	  incorporates,	  in	  its	  entirety,	  “Plaintiff’s	  Response	  to	  

Defendant’s	  Motion	  to	  Dismiss	  or	  in	  the	  Alternative	  for	  Summary	  Judgment	  &	  Cross	  
Motion	  for	  Summary	  Judgment.”	  	  	  
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